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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

MICHAEL WELDON, an individual: and Case No. 8:21-cv-1194-JLS (JDEx)

RUSSELLE WELDON, an individual;

Plaintiffs,
ORDER DISMISSING ACTION WITH

V. PREJUDICE

ASSURANT, INC., a Delaware corporation;
GEICO, INC., a Maryland corporation; and
DOES 1 through S50, inclusive;

Defendants.

 

 

GOOD CAUSE APPEARING AND PURSUANT TO THE STIPULATION
BEWEEN THE PARTIES:
IT IS HEREBY ORDERED that the above-captioned action be and hereby is

dismissed with prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1).

DATED: September 27, 2021 | | d : ~

HON. JOSEPHINE L. STATON
UNITED STATES DISTRICT JUDGE
